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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                            BILLINGS DIVISION


 UNITED STATES OF AMERICA,                                CR 22–142–BLG–DLC

                      Plaintiff,

        vs.                                                     ORDER

 CURTIS FLOYD,

                      Defendant.


      United States Magistrate Judge Timothy J. Cavan entered Findings and

Recommendation in this matter on January 5, 2023. (Doc. 14.) Neither party

objected and therefore they are not entitled to de novo review. 28 U.S.C.

§ 636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Cavan recommends that this Court accept Defendant Curtis Floyd’s

guilty plea after Floyd appeared before him pursuant to Rule 11 of the Federal

Rules of Criminal Procedure and entered a guilty plea to one count of conspiracy

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to submit false statements in mine records, in violation of 18 U.S.C. § 371 (Count

I), as set forth in the Information. Reviewing for clear error, the Court finds none.

      Accordingly, IT IS ORDERED that Judge Cavan’s Findings and

Recommendation (Doc. 14) is ADOPTED in full.

      IT IS FURTHER ORDERED that Floyd’s motion to change plea (Doc. 4) is

GRANTED and Floyd is adjudged guilty as charged in Count I of the Information.

      DATED this 20th day of January, 2023.




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